Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 1 of 19

United States District Court

Southern District of New York Tina Michelle Braunstein’s response to
Defendant’s statement of undisputed
Tina Michelle Braunstein material facts pursuant to local civil rule
56.1 in opposition to Defendant’s motion
Plaintiff for summary judgement
-against-
Sahara Plaza LLC and the Plaza Hotel, 16 CV 08879

a Fairmont Managed Hotel, et al

 

Defendants

JUN 04 2018

b-——— -

U.S.D.C.

Tina Michell Braunstein herby responds to Defendants statement of undisputed facts In
corresponding numbered paragraphs as follows: = sees

  

 

 

 

   

OCUMENT

1. Plaintiff Does Not Dispute .
ECTRONIC

   

ALLY FILED |
2. Plaintiff Does Not Dispute

DOC #__ a
3. Plaintiff Partially Disputes = FILED: @\4 U8 _|

DATE fee
Defendants violated the agreement when they harassed, discrim | eecrant estSlod
against Ms Braunstein. Defendants also violated Union Contract when they did not pay
Plaintiff properly, which the requested account will show.

4. Plaintiff Disputes

Ms Braunstein was not notified of a separate agreement until Mr Hunts (former
Assistant of Human Resources) Deposition on September 28, 2017. Plaintiff's former
attorney Mr Haesloop, pointed out that he never received a copy of that separate
agreement. Plaintiff asserts that this agreement is not a license to harass, discriminate
or retaliate against ms Braunstein

HUNTS DEPO PAGE 85 LINE 6 - LINE 16

SEE BRAUNSTEIN DECLARATION EXIBIT #1

5. Plaintiff Partially Disputes

Defendant’s are not allowed to harass, discriminate, or retaliate against Ms Braunstein
during the probation period regardless if there is or is not a union contract.

6. Plaintiff Partially Disputes

Defendants collective bargaining agreement is not a license to harass, discriminate or
retaliate against Plaintiff.
t.

9.
10.
11.

12.

13,

Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 2 of 19

Plaintiff Partiaily Disputes

Correct Plaintiff signed the Discrimination & Harassment policy. Defendants failed to
conduct their separate Discrimination & Harassment lecture & workshop during Ms
Braunstein’s employment even thought Defendants scheduled & cancelled by Defendant’s
each time, including March 9th 2015 from 1-5pm as Plaintiff made note of in her EEOC
complaint entered on September, 11, 2015

SEE BRAUNSTEIN DECLARATION EXIBIT 2

Plaintiff Partially Disputes

Defendants are greatly down playing Mr Douri’s (most senior manager) role and level of daily
contact with Ms Braunstein. According to Mr Mariano’s testimony asking who was Plaintiff's
senior manager “...| would say Amin (Douri} who was the most senior manager on the floor
at that time”.

On December 25, 2014 Ms Braunstein wrote an email about Mr Douri’s lack of
professionalism and acting misogynistic towards her due to the severity of the continued
harassment. This complaint was dead ended.

MARIANO DEPO PG 122 LINE 5 - PG 123 INE 8

SEE BRAUNSTEIN DECLARATION EXIBIT 3

Plaintiff Undisputed
Plaintiff Undisputed
Plaintiff Disputes

On numerous occasions during her employment Ms Braunstein requested to find out who
was the “senior’ bartender and what exact privileges did that role entail.

BRAUNSTEIN DEPO PG 130 LINE 9- PG 131 LINE 2

SEE BRAUNSTEIN DECLARATION EXIBIT 4

Plaintiff Partially Disputes

Ms Braunstein concurs that Ms Paradis acknowledged Plaintiff's email something Plaintiff
appreciates. Unfortunately Ms Braunstein was forced to be alone with the Taylor who had
made inappropriate remarks about her during the delivery and finai fitting of her uniform
jacket, making Plaintiff very uncomfortable and going against Ms Braunstein’s original
request to not be put in a situation to be alone with him again.

BRAUNSTEIN DEPO PG 172 LINE 18- PG 173 LINES

SEE BRAUNSTEIN DECLARATION EXIBIT 5 (a-b}

Plaintiff Partially Disputes

Ms Braunstein wrote an email on December 8, 2014 about the incident on December 6th
with Mr McSorley (Long term morning bartender} which Mr Mariano did not elevate to an
official complaint of harassment charge as requested by Ms Braunstein since

Mr McSorley was physically preventing her from setting up her station to be able to do her
job. Furthermore, Mr McSorley was creating a hostile situation by literally getting into Ms
Braunstein’s face yelling at her.

Mr Mariano responded by email “ Thank you for taking the time to report this to me in
such detail. | am appalled by the kind of behavior that you have experienced and | assure
you this will not be tolerated. | only wish that | had been there to diffuse this unnecessary

situation”

 
14.

Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 3 of 19

Over a year past her termination, Plaintiff came to learn upon receiving her now closed
EEOC file, that Mr McSorley accused her of saying to him to “Go Fuck Yourself”

during that same incident. Ms Braunstein maintains that she was never given the
opportunity to answer that false and slandering charge. Instead Management used

Mr McSorley’s complaint heavily against her and internally amongst themselves started
emailing that Plaintiff was “aggressive & not a team player” without Ms Braunstein’s
knowledge. Mr Mariano (former Head of Food & Beverage) stated in his Deposition that
he did speak with Ms Braunstein about her foul langue, but that, he did not take any notes
as he did extensively for Mr McSorley’s statement. Mr Mariano stated that it is ‘implied’
(his word) that he shared this derogatory remark with Ms Braunstein a new hire.

Ms Braunstein maintains that during any and all of her complaints to management, that
she was not treated the same as her male colleagues. Her complaints, no matter how
serious were all dead ended. Defendants did anything in their power to discredit Plaintiff
without letting her know what was allegedly being said or allowing her a chance to defend
herself. This is the same experience that the other several women coming forward claiming
sexual harassment have stated in their 50 page complaint with their Attorney Mr
Goodstadt. Index 18 cv 01266.

Mr Mariano also agreed with Ms Braunstein regarding that situation with Mr McSorley
in his deposition ‘Look | think Tina was rightfully upset and | don’t think Edmund
(McSorley) handled it in a professional way”

BRAUNSTEIN DEPO PG 177 LINE 7 - PG 178 LINE 9
MARIANO DEPO PG 170 LINE 5 - PG 179 LINE 15
MARIANO DEPO PG 182 LINE 15-18

SEE PLAINTIFF’S DECLARATION EXIBIT 6 (a-c)

Plaintiff partially Disputes

Ms Braunstein was never “interviewed” as they claim, Defendants used her email as her
statement. She stepped in the Human Resource (HR) office to see how her charge of
harassment was progressing, and was asked casually by either Mr Hunt or Ms Stabile
(former Head of HR) if Mr McSorley had “calmed down” towards her, Management did
not elevate Plaintiff's complaint to an official charge of harassment as Ms Braunstein
expected, due to the hostile and aggressive scene Mr McSorley caused for over an hour,
in front of the Palm Court bar’s guests. Defendants dead ended Plaintiff's complaint.

Additionally Ms Braunstein maintains that she knows nothing of Mr Marini (bartender on
her team) witnessing and commenting negatively against Ms Braunstein, as she was
confronted with his claim during her employment. Plaintiff finds it very questionable how
HR handled this situation and immediately turned against Ms Braunstein without being
to defend herself. She also wonders if this alleged witness Mr Mariani, who was hired to
start this new bar project along with Ms Braunstein. Plaintiff wonders if this alleged
witness's negative response against Ms Braunstein was solicited as Mr Mariani was third
in line for “Seniority” behind Ms Braunstein, an undisputed more advanced Bartender
with over twenty years of experience.

Mr Marini is one of the 8 all male witness list Defendants Council produced.
Plaintiff finds it questionable as to why Mr McSorley is not on that list, considering they
are claiming she told him to “Go Fuck Yourself”

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 4 of 19

SEE PLAINTIFF'S DECLARATION EXIBIT 7 (a-c)

15. Plaintiff Disputes

Ms Braunstein does not have an Uncle that is an Attorney and does not know why
McSorley claims that she said that. Ms Braunstein vehemently denies saying to Mr
McSorley (long term employee) “You don’t know who your messing with, Go Fuck
yourself” during that December 6th incident that Mr McSorley was interviewed at on
December 10th by Mr Mariano, whom took extensive notes.

Ms Braunstein vehemently denies ever being hostile and/or aggressive, as that is neither
in her character or how she comes across professionally. As proof she is submitting a
stellar letter of recommendation from her former employers from a job she had for about
a year following her employment at the Plaza.

Ms Braunstein worked for the first time in her career, as a Brand Ambassador with
WhistlePig Rye, one of the worlds top whiskeys in the competitive New York City

market. In her letter of recommendation on company letter head, her direct boss

wrote “ | had the honor of working closely with Tina...” “...She displayed great
motivation, responsibility, and a self-starting work ethic” “Tina was always commented in
the highest degree by retailers ...”

Ms Braunstein (a new hire) believes that once she wrote that email accusing Mr McSorley
of harassment on December 8th, that management learnt that she was not a female that
they can easily harass as that is the culture of their environment and that this knowledge
on their part was the beginning of the end for her employment. That they kept Plaintiff in
her role behind the bar 138 days of her 150 day probation period was because she is a
high earner and had vast expertise and success in setting up new bars during her career,
and this was a newly designed bar at the Plaza Hotel.

BRAUNSTEIN DEPO PG 179 LINE 3-6
SEE PLAINTIFF’S DECLARATION EXIBIT 8 {a-b}

16. Plaintiff Disputes

Ms Braunstein denies using foul language at work, and Plaintiff has no way of knowing if
Mr Marini (bartender on her tearn} complained that she was ‘aggressive, bossy and used
foul language’ as she was never informed this during her employment and has concerns
that management fabricated or even solicited this from a new, less experienced Bartender,
to make Ms Braunstein look bad, and have cause for termination, down the line, before
her probation period ended.

Mr Mariano (former Head of Food & Beverage) testified in his past, that he has sat down
with employees, bringing the two together, to work through issues they may be having
with each other. Yet, he did not allow Ms Braunstein the same curtesy, with anyone that
Defendants are claiming was criticizing Ms Braunstein.

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 5 of 19

Mr Mariano said several times during their meeting on January 15, 2015 to discuss her
one and only performance review, that Plaintiff recorded on her iPhone, that he needed
to have (personally conduct) a bar meeting and a separate cocktail server meeting then a
third with everyone to figure out what is going on here and work through any issues.

This meeting never happened during Ms Braunstein's remaining employment even
thought there were 56 days left until they fired her, once again not allowing Plaintiff
to address her alleged accusers of their alleged complaints against her. She wonders
if the promised meeting did not happen because the Defendants solicited complaints
against her or if these alleged complaints were fabricated by management or staff.

In the meeting with Mr Mariano & Plaintiff, he stated that there is a consensus that she
is ‘difficult’ to work with. Later saying “... There appears to be misunderstanding here”
once again repeating the need for group sit down meetings. Never did he accuse nor
mention, that Ms Braunstein used foul language towards anyone.

Plaintiff maintains that these ‘complaints’ against her by fellow staff are false, and
malicious by the management to discredit her. There is not one written complaint against
her until after she had to write that email reporting the harassment against her by Mr
MicSorley, a long term employee. Then management and HR emailed internally that she
was a probiem.

MARIANO DEPO PG 48 LINE 21 - PG 49 LINE 20
SEE PLAINTIFF’S DECLARATION EXIBIT 9

17. Piaintiff Disputes

The contents of this email from Mr Widnersson (Bar Manager) to Mr Mariano (former
Head F&B) and Mr Hunt (former Assistant of HR) were never disclosed to her.

This email was sent about five days after Ms Braunstein emailed her complaint charge
against Mr McSorley.

Mr Mariano stated in his Deposition ‘And like | said, Tina and | had a good relationship
relationship. She raised some valid points, issues, and we were able to take care of. She
raised her disappointments and we were abie to talk them through”

MARIANO DEPO PG 246 LINE 3-7
SEE PLAINTIFF’S DECLARATION EXIBIT 10 (a-b)

18. Plaintiff Partially Disputes

It was Ms Braunstein that asked to sit down with Mr Mariano & Mr Widnersson, her bar
manager to discuss his commenting that all Ms Braunstein does is complain, as she was
sharing ideas how to improve the bars service. Mr Mariano requested that she bring a
“witness” and not a “delegate” as stated by Defendants council. Mr Trevor Sherman

(Mr Chatwell, owner of the hotel’s right hand employee)

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 6 of 19

Ms Braunstein became aware that allegedly notes were taken of that December 18, 2014

meeting when she received a copy of her closed EEOC complaint, over a year after being

fired. No one at this point has testified that they are the Author. Mr Mariano testified that

they were not his notes. Plaintiff believes that since there is no date stamped to prove
when

the note Dated December 18th was written and by whom, that they appear to be

fabricated to look tike the style Mr Mariano takes his note. Ms Braunstein believes this page

of notes was written post her termination to make plaintiff look bad and justify firing her.

To clarify Plaintiff's assertion that it was a ‘witness’ and not a ‘delegate’ is not to let it sound
like she had someone with real knowledge of the Union’s rules in her called meeting with
concerns over how her direct manager was suddeniy treating her.

MARIANO DEPO PG 185 LINES - PG 188-LINE 18
SEE PLAINTIFFS DECLARATION EXIBIT 11 (a-b)

19. Plaintiff Partially Disputes

Mr Douri (Manager with seniority) was acting very unprofessionally towards Ms Braunstein
by calling her inappropriate names as well as acting misogynistic towards her in vast
contrast to how he acted towards the three males on the Bar Team. There would be a

non stop condescending nature to how he spoke to her. Mr Douri showed favoritism to Mr
Menite as he turned a blind eye to Mr Menite’s chronic lateness, excessive drinking
alcohol at work against hotel policy and allowed Mr Menite the much coveted ‘point
position’ behind the bar. Mr Douri put Ms Braunstein in the ‘Second station’ the one due
to it’s location was the ‘Bar Back” position. This Bartender was required to both carry
their weight in directly attending guests at the bar to generate income, but, also be the
person to run on and off the tight quarters that was this bar doing all the ‘Bar Back’
duties. The final station behind the bar was the ‘Service’ station responsible for making
the drinks for the cocktail servers attending to the quests sitting at tables in this large .
room. All Bartenders were required to assist each other when needed.

Mr Douri did the scheduling. Mr Widnersson (Bar manager} asked the team for their
requested ideal schedule for their permanent schedule in a Union House. Both Plaintiff
and Mr Menite received exactly what they requested with the two less experienced
and least ‘senior’ Bartenders getting 3rd & 4th placement. A few weeks later Mr Menite
changed his mind and demanded to take Ms Braunstein’s lucrative Saturday night and
against her protests, Mr Douri changed her set schedule.

On December 25, 2014 Ms Braunstein wrote a formal ietter accusing to Mr Douri, sent
through Mr Widnersson, as she did not have (Douri’s) his email. Plaintiff stated that he
was being unprofessional, and misogynistic towards her. Neither male manager answered
her complaint. Mr Widnersson commented that he was off on December 23rd a date that
Plaintiff email referenced quoting Mr Dour, so that Mr Widnersson would not comment on
a situation he knew nothing about. Ms Braunstein requested that her Bar Manager look
into the situation with Mr Douri and he refused.

On December 30, five days after getting nowhere with her male managers, Plaintiff
reached out to one of the only women in HR and the only HR employee is give out her
business card during orientation. The matter was never discussed, once again

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 7 of 19

 

Ms Braunstein’s serious complaint against a male employee was dead ended. Mr Douri is
the same manager that the hotel later on, promoted to General Manager of the Todd English
Food Hall, and is alleged to have sexually groped one of the other women coming forward
in the complaint Index # 18 cv 01266

MARIANO DEPO PG 122 LINE 5-25
SEE DEFENDANTS DECLARATION EXIBIT 12 (a-c}

20. Plaintiff Partially Disputes

Defendants are correct that Ms Braunstein testified that she responded favorably to

Ms Paradi quick response and Ms Paradi saying, “! will follow up with you”.
Unfortunately, that is the last she heard anything about her complaint against Mr Douri,
once again her complaint was dead ended. This is the same time period that Plaintiff
learnt during Mr Mariano’s Deposition, that the managers all weighted in on giving

their assessment of Plaintiff for her one and only crushing written review, given, nine days
later.

MARIANO DEPO PG 197 LINE 6-8
SEE PLAINTIFF'S DECLARATION EXIBIT 13

Plaintiff Partially Disputes

Ms Braunstein review was used as retaliation for her speaking out at work about

the hostile and sexist environment that she was experiencing, and this is followed through
by the next several women claiming sexual harassment, as we know that did not happen
over night or in a vacuum, but, that is the deep seated culture of the Plaza Hotel. That
sexual discrimination is a form of sexual harassment.

Ms Braunstein was given little to no feedback from Mr Widnersson as he presented her
this crushing review. He would not answer her questions nor explain his assessment of
her. Plaintiff was worried for her job, and was forced to run around, seeking guidance
from Mr Hunt (Assistant HR) & Mr Mariano (Head of F&B) as what to do about getting
Mr Widnersson to explain his mostly negative marks for Ms Braunstein, giving her a
chance to improve. Instead he kept refusing. Plaintiff wrote her first letter asking for
feedback on Mr Hunts direction, she emailed it later that night sending it at around
2:30 am on January 9, 2015.

Before her next shift, Ms Braunstein stepped into HR to ask Mr Hunt if there was a way
to get that review removed from her permanent employee file, and he said no. But, she
could write a rebuttal to attach to it. Mr Hunt once again suggested Plaintiff speak to

Mr Widnersson about getting feedback. she expressed her frustration to Mr Hunt that
was exactly what she did to no avail. Plaintiff ran into Mr Widnersson outside the HR
office and once again her refused to give her any feedback even though he acknowledge
receiving her email. Now, Plaintiff was feeling she was going nowhere and was getting
the run around.

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 8 of 19

Plaintiff started her second letter to him saying “Dear Johan (Widnersson) to start we ran
into each other outside of HR office, on Friday 1/9 after my meeting with Jennifer & Evan.
You acknowledged receiving my email and said that you would not give me the bullet points
in writing as | had requested, that all HR required from you was to fill out the form and talk
to me, and that is what you did”

 

Ms Braunstein came to learn through obtaining her EEOC file, that both Mr Marini and
Mr Menite who were given their reviews prior to Plaintiff, both, received written feedback
Mr Widnersson on how to improve with their negative marks, where as, Plaintiff did not.
Yet Plaintiff was marked “Below” Overall performance Summery, and both men were
marked as “Meets”

 

 

Through ‘Discovery’ with Plaintiff's lawsuit, she came to learn at Mr Mariano’s Deposition,
that there is a suspicious second copy of plaintiff's review that does have written notes.
Nobody has testified to knowing who authored such notes. Mr Mariano claimed it was
not
him. The hand writing is barely legible and there is no official stamp entering it into her
employee file. This is the now second, along with those unauthorized notes/bullet points
discrediting Ms Braunstein. Once again, she questions if this was done post her firing to
cover up the illegal treatment of her.

Disclosed at Mr Hunt’s Deposition, was both HR & Managements mishandling of the proper
filing of her review since it was “ Below” standards. That it needed to be signed properly.
‘Department Head’ ‘Human Resources’ & ‘ Review conducted by’ should all have been
signed.

Ms Braunstein questions Mr hunt’s honesty during his Deposition that he claimed to know
nothing of Mr James Menite’s drinking only that | made a verbal charge on March 13, 2015
when | was fired. Plaintiff has confirmation that Brian Van Flandern, the bar consultant that
assisted in the hiring & training and Mr Menite’s best friend was one of the people to get
Mr Menite into a 28 day rehab. Mr Menite’s stay was paid for by his health insurance
through the hotel and staff worked ‘overtime’ to assist covering his shifts. Both Mr Marini
and the female Bartender that replaced her, the much younger, Ms Sergeline (one of the
several woman coming forward claiming sexual! harassment) They both knew about

Mr Menite being in rehab and they covered his shifts, during the approximate timeframe

of Mid April to Mid to late May 2016. Mr Hunt remained the Assistant of HR until October
2016. Considering that ‘overtime pay’ is a huge deal it very suspicious that he claims not toe
know.

Ms Braunstein was marked negative for ‘attendance & punctually’ - both can be proven to
be in correct with Plaintiff requesting the time clocks, they can also prove that her male
colleagues were chronically late and calling out missing shifts without reprimand or being
terminated.

“Team Player” was marked negative on Ms Braunstein’s review, yet, on December 22,

2014 it was she and not Mr Menite that volunteered to work the ‘Service bar’ station once a
week that Mr Rosa worked almost exciusively due to Mr Widnersson’s direction with Mr
Marini working it the other nights. They both expressed at our one and only bar meeting that
they were frustrated and getting burnt out. Mr Menite refused to be scheduled to work
‘service’ saying “| am the Lead Bartender, | am here to run the Oak Bar, | am not a

service bartender” Mr Menite was not the Lead Bartender, yet went undisciplined

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 9 of 19

 

for not being a team player.

HUNTS DEPO PG 64 LINE 22 - PG 65 LINE 23
HUNTS DEPO PG 41 LINE 5-PG 42 LINE?
SEE PLAINTIFF’S DECLARATION EXIBIT 14 (a-h}

22. Plaintiff Partially Disputes

Ms Braunstein was not treated the same as her male colleagues, Defendants further
bullied and harassed her when they refused to give her the the same feedback and the
same level of expectations. Apparently her male colleagues were held to a lower set of
expectations. Plaintiff proved herself to be diligent and professional in asking all parties
involved to help her get the needed and required feedback from the manager entrusted
to deliver her review, the same as was done for her male colleagues. Plaintiff realizes that
she was given the run around by HR and management none of them at this point said
they would either help her find out what is going on with Mr Widnersson in discussing his
perspective in what exactly he said to Plaintiff or stating right away let’s schedule a follow
up meeting with Plaintiff and Mr Widnersson.

Ms Braunstein started her first letter to Mr Widnersson “Dear Johan, | am
requesting in this email just as | did during my 60 day review on 1/8/15 bullet points for
all the negative (marked no} comments.”

BRAUNSTEIN DEPO 205 - 11-14
SEE PLAINTIFF’S DECLARATION EXIBIT 15

23. On January 10, 2015 two days after Ms Braunstein’s review, and as she was still running
around seeking answers, Mr Mariano sent Mr Hunt, copied to others, an email that
Roberto (Mr Rosa) had stepped into his office to report that he was upset alleging that
Ms Braunstein is not supporting him behind, by assisting him enough as he works the
service bar. the bar, that she ‘bossy and aggressive’ and that Plaintiff is “all talk”

Ms Braunstein definitely assisted all the male Bartenders as they shared equally in the
division of their nightly tips, and that the long term success of the bar was important for
all their futures. Plaintiff never heard complaints directed towards her from Mr Rosa that
he needed more help. Ms Braunstein was also not inform of this email, another one from
Management to HR complaining about her without allowing her a rebuttal.

On iPhone recording that Plaintiff had with Mr Mariano on January 15th, five days prior

to this meeting Mr Mariano states that Mr Rosa came into see him unhappy with his
review. Mr Mariano tells him that management did not know if he was going to make it at
the beginning, as he was struggling with the drinks and they were worried that he couldn't
handle the pressure. He also says that both Tina (Piaintiff) and James (Menite} said that
they would commit to help make Mr Rosa successful from early on. iPhone 42:50-13:20.

Once again, Management and HR are showing more concern for Ms Braunstein’s male

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 10 of 19

colleagues than her, as she continues to run around trying to get feedback from her crushing
review. They turned a blind eye to Mr Rosa being chronically late to work as well as abusing
‘overtime’ making sure to slow down his pace cleaning up for the extra money.

Ms Braunstein did everything in her power to assist a less experienced Bartender, one who
was positioned by Mr Widnersson to work the ‘service bar’ because as stated at out December
22, bar meeting, that ‘you are not yet strong enough to work the main bar” Mr Rosa was no
doubt having a hard time being bested by a female. He wanted to work the main bar.

Plaintiff was the only one on their team, to work all three stations, with praise from guests &
staff regularly. Mr Rosa was fourth and thus last in line for seniority.

SEE PLAINTIFF’S DECLARATION EXIBIT 16

24. Plaintiff Partially Disputes

On January 12th, four days after Ms Braunstein still has not gotten feedback from Mr
Widnersson she had again stoped into HR to ask Mr Hunt if there was a way to get her
review taken out of her employee file. He said ‘no’ but she could write a rebuttal to attach
to it. She continued to seek answers as all management kept telling her to speak with

her bar manager that gave her the review. She knew that her assessment was in correct,
for one example, that she was oddly told that she ‘disappears’ from the bar. Yet in her roll
as ‘second station’ she was required to run on and off the bar all night, as she continued
to have a bank (a register) to ring in the orders and make the drinks for guests sitting in her
station, considering how constantly she needed to run off of the bar Ms Braunstein did very
well for the house, for her team and their guests alike.

But, now out of left field she was being accused of not communicating when she stepped
off of the bar. Ms Braunstein is not shy about communicating, each and every time she’d
let the team know getting either a verbal or non-verbal, ‘Bartender Nod’ as confirmation.
This simply was not true, no one had mention any dissatisfaction with her before for her
lack of being a team player or not working hard pulling her share. Plaintiff volunteered to
work all the stations, unlike her male colleagues.

Plaintiff did all she could tapping into her over twenty year Bartending career, mostly as the
Lead Bartender on the opening team of New York City’s top restaurants, planting the seeds
for fong term success. Having to now run around begging actually begging for help getting
feedback was demoralizing. Ms Braunstein also understood that her Bar Manager was in
need of assistance being his first time in America and the intense Manhattan market.

He just spent the prior two years managing a bar for Fairmont (managed the Plaza} working
in Dubai, a much slower pace with much less pressure. She was working towards the long
term success of this Bar, and hoping to be able to be part of the team for the Oak Bar as
was mentioned during the interview process.

Ms Braunstein stands by what she wrote in sheer frustration to her Bar Manager, who was
not showing her the same respect that she showed him and that he showed her male
colleagues and a select few of the all female cocktail serving team.

The photos that Plaintiff added, taken around the time of her review, show that at least
one week into January 2015, after three months of work that Mr Widnersson still hadn't
figured out the nightly requisition, causing the bar team an extra hour during clean up,
to run around to three different locations in the Palm Court Bar (ours) to make sure we
we did our jobs properly. In twenty five years of service | have never seen stock kept in such

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 11 of 19

a way that there was no order. Ms Braunstein opened two major restaurants during the holiday
season, Teleran as the co-lead bartender and Bar Boloud across from Lincoln center, without
having this issue. Here it is finally a slow week that first week on the year, and still it was not
done. Three weeks later Mr Widnersson left the Plaza, heading home to Sweden. He was here
for all of four months.

Approximately one month later Ms Braunstein was talking to talking to Mr Mariano about the
article that just came out ‘Speaking while female’ by Sheryl Sandberg & Adam Grant, because |
really believed that is what was happening at the Plaza. | left a hard copy on his desk.

SEE PLAINTIFF’S DECLARATION EXIBIT 17 (a-b)

25.

26.

27.

28.

29.

Plaintiff Partially Disputes

Plaintiff believes she coved this answer above #24, and has shown that she was not
given the same guidance and respect as her male colleagues.

Plaintiff Partially Disputes

Plaintiff states that for the remainder of Mr Widnersson’s employment, leaving at the end
of January, he had still not created a system of keeping our expensive stock organized,
even though our slow season is a great time for doing just that.

Plaintiff partially Disputes.

Aithough Plaintiff did not state that in her January 12th email she did write in her January
9th email, repeating what was discussed at her review when she was told that Mr Douri,
agreed with mr Widnersson’s assent of her not being a team player, and how
uncomfortable she was with mr dour weighing in since a short time ago on December 25
she wrote an email that Mr Douri was misogynistic and unprofessional towards her.
Plaintiff believes at that time she spoke out about her concerns and was once again
dead ended. it is implied at this point forward.

SEE PLAINTIFF’S DECLARATION EXIBIT 18

Plaintiff Partially Disputes

Ms Braunstein was respectful and professional towards all her colleagues in a manner
which was not reciprocated. Her male team mates were shown much more leniency by
the all male management team, they were neither spoken at or dealt with in the same
manner.

In Plaintiff's Deposition she states that she was asking for feedback from her crushing
review and wanted it in a timely manner from her supervisor, he was disrespecting her.

BRAUNSTEIN DEPO PG 205 LINE 11-14
SEE PLAINTIFF’S DECLARATION EXIBIT 19

Plaintiff Partially Disputes

 
30.

31.

Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 12 of 19

Ms Braunstein disagrees with Mr Mariano’s perspective that Defendants were respectful
towards her. January 12th was four days after Plaintiffs review and she still had zero
feedback from her Bar Manager, and this is after numerous disconcerting issues that
Plaintiff was experiencing at her job that management was not accountable for in dealing
with Ms Braunstein in the sare manner as her male team mates.

At this point Ms Braunstein had already been left out of the December 2, 2014 Final ‘Tip
Out’ Meeting. This was where the whole team, bar & servers decided by a final vote, how
much the cocktail servers will ‘tip out’ the bar staff (service bar) for preparing their drinks.
These debates got heated and were going nowhere. Mr Mariano called a meeting with
Harry Ryker frorn Local 6, the hotel and Trade Union, to mediate. Ms Braunstein was
neither notified of this meeting or allowed a final vote. She heard about it through a text
she received from Mr Marini, he was asking if he was the only one showing up (Defendants
Council should have a copy of this text) as both Mr Menite & Mr Rosa (scheduled off that
day) were per usual running late. Eventually, they arrived and were part of the fina/
decision. Plaintiff later learnt that besides the bar team, Mr Ryker, Mr Mariano, Mr
Sherman, most of the servers, excluding Ms Cecila Soto, were all there.

No Management or Mr Ryker, whom Plaintiff spoke with after she arrived at work that
night, helped her or cared that she did not get a vote. This was mentioned in her email(s)

later on during her employment.

At this point, Ms Braunstein also had her lucrative Saturday night shift given to her as her
‘set schedule’ taken away by Mr Douri and given to Mr Menite against her objections and
requests for why when she was doing so well in generating income. And given to a male
colleague that by all accounts was at this point, January 12th, chronically late, drinking
excessive amounts of alcohol on the job, threatening to get Ms Braunstein fired, and not
performing at the same level as was expected as Ms Braunstein which the management

turned a blind eye too.

Finally, in Mr Mariano’s email on January 12th, he comments that Plaintiff should not ‘cc’
Ms Paradis on her emails. Ms Braunstein came to learn through Mr Hunt, the Assistant of
of HR that conflicting with Mr Mariano's email, that employees can go to anyone in HR with
an issue. As Hunt’s deposition show’s.

HUNTS DEPO PG 23 LINE 22 - PG 24 LINE 10
SEE PLAINTIFF’S DECLARATION EXIBIT 20

Plaintiff Partially Disputes

Although that meeting did indeed take place, it was supposed to be with Mr Widnersson,
Plaintiff and Mr Mariano, per Mr Mariano’s email and prior verbal confirmation to
Ms Braunstein to finally get feedback on her review. Mr Mariano contradicted that claim

at his deposition, saying that he did not invite Mr Widnersson.
MARIANO DEPO PG 216 LINE 14 - 22
SEE PLAINTIFF’S DECLARATION EXIBIT 21 (a-b)

Piaintiff Partially Disputes

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 13 of 19

Plaintiff does not agree with Mr Mariano’s perspective of their iPhone recorded meeting
which was supposed to included Mr Widnersson, and he is the reason she felt the need
to protect herself and record why he is stating to have given her this crushing review.

The iPhone recording disputes what Mr Mariano wrote in his assessment to Mr Hunt.
Mariano:

14:38 “...Your manager must give you feedback..”

14:12-14:18 *..Professionalism ? I’m not sure where that is coming from..”

10:41-10:58 “..First, | don’t even like this review, because it’s either yes or no....not really a
a fan of this thing”

12:26-12:31 ...”someone should be telling you this on a daily basis, and not wait for a
review...the manager should be giving you feedback in the moment it
is happening”

18:03-18:15 Plaintiff “...in this house here, | am not respected” Mariano “What do you
think we should do about it ? Do you think we should have a meeting “

This promised meeting which Mr Mariano mentioned several times during their discussion
where he said he would sit down with the bar team, and the servers separately, then a third
meeting altogether never happened although it was schedule and cancelled a few times
including on March 11 & 12, days prior to Ms Braunstein being fired on March 13th. In Mr
Marianos deposition he said the he could not remember if we had that meeting.

There were six employees; the four bar team members, Mr Mariano and Mr Douri, who
took over for Mr Widnersson as acting bar manager until a new one was hired, expected
to attend.

Mr Mariano claims not to remember conducting a meeting to assist the bar team and
figure out what is realiy going on, yet, this is what led to Ms Braunstein being fired
from a very lucrative and secure union bartending job.

Ms Braunstein never said that the cocktail servers were “whiny” as he states and the
reordered meeting will show, but, this negativity towards women appears to be a
pattern with Mr Mariano. In his deposition he refers to the cocktail servers believing
Ms Braunstein was ‘jealous’ of them, and our consulting Chef Zakarian’s wife Margaret
as a ‘self appointed expert’ back to the iPhone recording he refers to Ms Cecila Soto
as ‘cranky’

Mis Braunstein is proud to be a strong, intelligent, hard working, woman born and raised
in the Bronx, she has managed to work her way up into the very competitive world

of ‘Fine Dining’ in one of the most important markets, doing so by being a team player.
Proving ali of the above by helping her Plaza team in working all of the bar stations as she
generated income and built up the clientele. The Defendants are falsely trying to discredit
her, painting a picture of a ‘bossy” “aggressive” “non-team player” They appear to take
offense to her being a strong woman. Plaintiff has no doubt that her being such is what
saved her from being sexually molested at this job, just as other women are speaking

out now, including the younger fernale Bartender that they repiaced her with Ms
Sergeline. Ms Braunstein was speaking out about their sexist environment when she was
an empioyee trying to help fix things and instead was terminated.

Mr Mariano ends this note with mentioning exactly what Ms Braunstein states about

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 14 of 19

meeting with the staff. None of these meetings happened before Ms Braunstein was
fired. There are early morning emails 8am - ish- that Plaintiff and Mr Mariano were going

back and forth trying to finally set up a meeting. Hours later arriving at work she was fired.

Mir Mariano was terminated on March 25, 2015 for under performing on this job.

MARIANO DEPO PG 215 LINE 10-14
MARIANO DEPO PG 216 LINE 14-22
SEE PLAINTIFF'S DECLARATION EXIBIT 22 (a-c)

32. Plaintiff Partially Disputes

Ms Braunstein already spoke about why she needed to secretly record this meeting, to
this day years later does not understand why Mr Widnersson was not there as expected.

Defendants are correct that Plaintiff was repeating to Mr Mariano that she has tried to
speak with her supervisor (Widnersson) that the cocktail servers were “snappish”
(Plaintiff's word) she then said “to Eddie & Roberto “ proving Plaintiff was much more
concerned for her team and the two less experienced members. And yes, it was
obvious to her that Mr Widnersson favored both Ms Minard & Ms McAdams.

Both Ms Minard and Ms McAdams left the Plaza shortly after Mr Widnersson. For
the record that makes only one of the original six servers hired stayed. Three women
left immediately, leaving only Ms Soto, making it past the probation period.

Mr Mariano stated in his deposition that three servers, ail women, left right away, that
was half their team. Some on their own and others fired. Yet, he claims that they kept
Plaintiff so long because it is a union house and not easy to fire, plus trying to give me
time to ‘self reflect’ (his word).

Defendants Council are trying to spin the undisputed fact that Ms Braunstein was called
a Bitch numerous times at work and finally captured on a recording device. There is no
excuse for anyone, especially a superior using such, derogatory and demoralizing
language. Now, they are doubling down quoting what Plaintiff believes to be another case
“ Don’t give that fucking bitch Elena, any blow dries, these fucking Latino’s are going to
bring this place down”

Ms Braunstein knows first hand that this language is not and should not be used to
‘motivate’ any female. Being called a Bitch at work, especially by your boss changes
everything. The vibe will never be the same, there is no going back from that point.
This is nothing that should be normalized, yet, obviously is the deep seated culture
that is the Plaza Hotel. Their male employees are held in a higher regard. Mr Abrantes
replaced Mr Widnerssen, he is accused in the complaint index # 18 cv 01266.

Mariano iPhone:

30:03 “you are a fighter, you stuck it out, | like that”

30:43 “Cecila has an edge. | am not afraid of people like that, like you and me”
Ms Braunstein appreciates that Defendants Council had the iPhone recording

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 15 of 19

transcribed. it has a few typo’s but is accurate. Except for one important omission on the
first page, where they typed { “goes into further details regarding this” )

What was left out, not verbatim, but, close was where | am speaking that | can handle a lot
of criticism because of my college experience, | attended the California Institute

of the Arts, a very critical art school, and every few weeks you were required to put you
work up for the class and teachers to criticize and they would rip you apart. My schooling
made me learn how to handle intense critique. Other than that omission, the transcript
appears pretty accurate.

MARIANO DEPO PG 130 LINE 4-14
SEE PLAINTIFF’S DECLARATION EXIBIT 23 (a-b)

33. Undisputed

34. Plaintiff Partially Disputes

Mr Mariano said ‘i felt Tina and | had a really good relationship. She raised

some valid issues that we were able to take care of. She raised her disappointments and
we were able to talk them through.” Ms Braunstein wonders why Mr Mariano relied so
heavily on other people’s perceptions of Plaintiff which appears to contradict his own
experiences with her. Especially when the Palm Court (our bar) was full of new hires

who are, as a group, to all be competing for the approval of their superiors.

Plaintiff will ask the Court to read a few more sentences than Defendants to get the
fuller picture of what she said during Plaintiffs deposition.

BRAUNSTEIN DEPO PG 86 LINE 2 - PG 87 LINE 14
MARIANO DEPO PG 246 LINE 3-7
SEE PLAINTIFF’S DECLARATION EXIBIT 24 {a-b)

35. Plaintiff Partially Disputes

Once again Ms Braunstein is being accused of using foul language towards fellow staff
after she wrote a letter informing Mr Mariano of inappropriate behavior by a few of their
cocktail servers, including Ms Adams and Ms Minard whom would shortly leave their
employment. Mr Mariano thanked Ms Braunstein and otherwise agreed with her
on this situation. Ms Braunstein bar guests were complaining about the behavior of
the cocktail servers and Ms Braunstein tried to get the situation under contro! by speaking
to Mr Douri, the only Manager with authority available at the time.

Plaintiff's email was written on February 7th, Mr Mariano replied on February 19, if
Plaintiff used foul language in front of Mr Douri as claimed, why is there no formal
complaint against her by either management or the servers. Ms Braunstein does not
use foul language at work and one again ciaims that, this is because employees are
trying to cover up for their wrong doing.

SEE PLAINTIFF'S DECLARATION EXIBIT 25

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 16 of 19

36. Plaintiff Disputes

Ms Braunstein was never made aware of this complaint made about her by Mr Rosa.
during her time of employment.

Yet interestingly enough on September 11, 2015 when she entered her complaint with
the EEOC against the Plaza, she mentioned in her paperwork some bullet points

with dates, and on February 18, she wrote that Roberto (Mr Rosa) was the one that
was inappropriate towards her and used foul language “You Tina suck and are a terrible
bartender” in front of their manager Amin (Mr Douri)

Mr Rosa wrote his email the day after this, on February 19th, which he sent it to Mr Douri
to forward to HR.

Ms Braunstein first became aware of this email when she received her closed EEOC
file. Once again, not given a chance to face her accuser or her manager that did nothing
to protect her. Ms Braunstein wrote a note to herself, which is why she knew that date
her plan was to bring this up at the bar meeting that Mr Mariano had promised.

Ms Braunstein was growing more and more disheartened and concerned of Mr Douri’s
treatment of her prior to him letting Mr Rosa attack her. She wrote that email on
December 25, stating he was unprofessional and misogynistic towards her. He was
responsible for the scheduling and took her off of Saturday nights, giving Mr Menite her
shift. Mr Douri, not only called her a Bitch, but, a Jew in derogatory terms. Plaintiff had to
go through Mr Douri to request the Jewish holidays off, this seemed to offend him.

So, February 19th the same day Ms Braunstein receives Mr Mariano’s email accusing her
wrongly of using foul language, towards the cocktail servers (February 7th) here she is
being verbally attacked in front of both her team member Mr Marini (Eddie) and mr Douri.

lronically, that evening Mr Rosa left the bar for over an hour without communicating where
he was going or what was going on, When he came back upstairs with Mr Douri he was
allowed to yell at Plaintiff, even encouraged to, with Mr Douri yelling at Ms Braunstein

that Mr Rosa quit and Mr Douri talked him into staying. The time clock will show that

Mr Rosa was chronically late, calling out missing scheduled shifts, on top of that register
receipts will show that he did in fact work mostly service because Me Widnersson put him
there. Ms Braunstein never criticized him for being stuck in the service bar, she even
volunteer after the December 22nd bar meeting to work that station Tuesdays to give

the less experienced a break.

October 4, 2017 eater.com reported that the Daily News article adding another women
has come forward accusing Chef Todd English of harassment, this is the location

where Mr Douri is now General Manager, that a noose was found in a Jewish employee’s
locker. Ms Braunstein was trying to no avail to report such offenses when she was there.

BRAUNSTEIN DEPO PG 222 LINE 18- PG 223 LINE 12
SEE PLAINTIFF’S DECLARATION EXIBIT 26 (a-c)

37. Plaintiff Disputes

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 17 of 19

Once again, Plaintiff was not made aware of this second email during her empioyment,
and this false complaint follows another note she wrote as the above #36 response, Mr
Rosa's accusations came after he attacked her at the bar a second time in front of Mr
Douri on February 20th (her note) his email was written on February 21st.

February 20th mr Rosa a 6’2” approximately 250 pound man rush Ms Braunstein 5’2”

He came at her yelling and with such force she was visibly shaken and the glass she was
holding broke in her hand. Mr Douri was encouraging his behavior. Once again, it appears
that Mr Rosa’s email was sent through the manager that was acting out towards me.

Plaintiff absolutely denies everything Mr Rosa wrote about her. She questions why if

it was she that was causing his duress at work and she was fired on March 13th, why did
Mr Rosa leave immediately after her, freezing his employment - not sure of the union
technical term - as Mr Mariano testified that his last day was March 25th and

Mr Rosa was already on ..... On March 8th, daylight savings, Mr Rosa was
approximately 1 3/4 hours late as time stamps can prove.

Mir Rosa is one of the eight all male witnesses against Ms Braunstein. He is currently on
leave of absence.

MARIANO DEPO PG 224 LINE 21-24
SEE PLAINTIFF’S DECLARATION EXIBIT 27

38. Undisputed
39. Plaintiff Partially Disputes

it was Ms Braunstein’s EEOC counselor, Mr Young, that was encoring her not to put

‘age’ ‘ religion’ into her EEOC filing on February 8, 2016 Final Charge. Plaintiff was
speaking extensively with him on both the phone & by email. She did underline age on

her original filing on September 11, 2015 because she was questioning if this was a factor
due to the nature of the environment at the Plaza, and how management spoke of her
“experience” in a condescending tone. Ms Braunstein insisted that her final complaint
that was written by Mr Young, and signed by her started out first sentence stating her
name and age, she believed it was entered into the complaint that way officially.

Ms Braunstein came to learn she was replaced by a woman born January 1983

fifteen years younger than her.

Also in that original paperwork Plaintiff by mistake checked ‘Nation origin” which is right
next too “Religion” because she knew that to be a factor of her firing with her complaints

against Mr Douri. It was Mr Young that felt it was best to leave that out of the final
charge. This was bad advice.

SEE PLAINTIFF’S DECLARATION EXIBIT 28

40. Undisputed

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 18 of 19

41. Plaintiff Partially Disputes

As stated above in #40. Ms Braunstein was following the advice of her official EEOC
Mr Young. She was replaced by a much younger woman at the Plaza and her schedule,
including her asking for the jewish holidays off were done by one of the managers

Mr Douri, who was calling her a Bitch.

42, Undisputed

43. Plaintiff Partially Disputes

Ms Braunstein has worked successfully for over twenty years in the restaurant business
unfortunately it carries the distinction of having the most complaints reported to

both the EEOC and the Department of Labor. She has been diligent in speaking out when
her monies were being stolen, or when she witnessed any harassment of herself or
others.

Ms Braunstein was terminated from Blue Hill at Stone Barns, her charge of Sexual Harassment
was settled after going to trial, there is a NDA. Ms Braunstein uses the 3 star review from Mr
Frank Bruni of the New York Times that mentions her by name 3 times as the second page of
her resume package.

Ms Braunstein was terminated by her next employer, Telepan restaurant, when her above
mentioned (BH@SB) employer found out where she was working and pressured Chef Telepan
to fire her. Later on, she joined currant employees in successfully suing Teleran for back wages
as the restaurant stole monies from them. Mr Kirschenbaum was their Attorney. This is when
she met Mr Kirschenbaum that took over her case with Blue Hill at Stone Barns.

Ms Braunstein was terminated from City Winery along with Mr Howard & Mr Potter, shortly
after they helped open that establishment, no reason was given for her termination. All three
believed they were used for their vast experience, but where shortly replaced with a much
younger crew. Ail three were over forty and went to speak with Mr Kirschenbaum, but, decided
not to pursue.

Ms Braunstein was discharged from her seasonal employment at Acker Merrel & Condit a high
end wine & spirits shop. Ms Braunstein was sexually molested by a male employee and filled a
charge with the EEOC after learning that another recent female employee was also molested,
even though her employer denied any employee has ever been attacked there. Ms Braunstein
left that job with a sielilar letter of recommendation that is a part of her resume package.

Ms Braunstein was terminated from Jams after approximately three or four training shifts of a
yet to open restaurant, in a new hotel. Jams management informed Piaintiff that the call time
(start) was going to be 5am for the Bartenders. Plaintiff voiced her concern, and questioned
why she was not informed of this unusual early start during her vetting process. She was let
go. Plaintiff filed with the Department of Labor. The Judge sided with Ms Braunstein, finding
her to be credible, as noted in her written decision. As a side note it was only a few short
months iater that she went in front of the Labor Law Judge, learning that both the General
Manager & Assistant General Manager already quit. Ms Braunstein believes that she dogged a
bullet with that one.

Mr Mariano was terminated by the Plaza on March 25, 2015

 
Case 1:16-cv-08879-VSB Document 46 Filed 06/04/18 Page 19 of 19

BRAUNSTEIN DEPO PG 108 LINE 17 PG 109 LINE 22
SEE PLAINTS DECLARATION EXIBIT 29 (a-e)

44. Plaintiff Partially Disputes

|, Tina Michelle Braunstein have always been truthful and responsible in bringing charges
against my former employers and thus far have been victorious. | hope to show this Court my
credibility in bringing my claims against the Plaza Hotel, et al. This is an establishment that has
a perverse and pervasive system in place to harm it’s female employees, reflected in the fact
that there are now multiple woman coming forward, including the younger female Bartender
that replaced me. August 2017 the news media picked up on this, calling it 'Rape Culture’ at
the Plaza Hotel. | am telling the truth and hope to bring my case to a Jury.

Jrethess (2s

Fier 7, Tra myche \\e M2 YOST yy

  

LEONARD H. NEWBURGER
NOTARY PUBLIC, State of New Yort
No. XX-XXXXXXX
Qualified in Bronx Coutity
Goramission Expires Sept. 30, 2015

 
